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            1                              UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF CALIFORNIA
            2                                    SACRAMENTO DIVISION
                 In re:                                           CASE NO. 14-20371-C-11
            3
                 THE ROMAN CATHOLIC BISHOP OF
            4    STOCKTON, a California corporation
                 sole,
            5           Debtor-In-Possession.
            6                             NOTICE OF DEADLINE FOR FILING CLAIMS
                                      RELATING TO OR ARISING FROM SEXUAL ABUSE
            7
                                                THIS IS AN IMPORTANT NOTICE;
            8                                  YOUR RIGHTS MAY BE AFFECTED
                                AUGUST 15, 2014, AT 4:00 P.M. (PREVAILING PACIFIC TIME)
            9            IS THE LAST DATE TO FILE PROOFS OF CLAIM FOR SEXUAL ABUSE
           10             TO ALL PERSONS WITH KNOWN OR POTENTIAL CLAIMS ARISING FROM
                 SEXUAL ABUSE FOR WHICH THE ROMAN CATHOLIC BISHOP OF STOCKTON, a
           11    California corporation sole (aka THE DIOCESE OF STOCKTON) MAY BE LIABLE:
                          PLEASE TAKE NOTICE that on January 15, 2014 (the “Petition Date”), The Roman
           12    Catholic Bishop of Stockton (the “Debtor”) filed a voluntary petition for relief under chapter 11
                 of title 11 of the United States Code (the “Bankruptcy Code”). You should carefully read this
           13    notice if you believe that you have a claim arising from Sexual Abuse (defined below) for which
                 you believe the Debtor may be liable.
           14
                            For purposes of this Notice:
           15          1. “Sexual Abuse” means: sexual conduct/touching or misconduct, sexual abuse, sexual
                            misconduct or molestation, indecent assault and/or battery, rape, lascivious behavior,
           16               undue familiarity, pedophilia, ephebophilia, or sexually related psychological or
                            emotional harm or contacts or interactions of a sexual nature between a child and an
           17               adult, or a non-consenting adult and another adult. “Sexually Abused” has a correlative
                            meaning. A child or non-consenting adult may be Sexually Abused whether or not this
           18               activity involves explicit force, whether or not this activity involves genital or other
                            physical contact and whether or not there is physical, psychological or emotional harm
           19               to the child or non-consenting adult.
           20          2. A “Sexual Abuse Claim” is a claim for any or all acts or omissions for which the Debtor
                            may be legally responsible that in any way arise out of, are based upon, or involve
           21               Sexual Abuse.
                       3. A “Sexual Abuse Claimant” is a person who asserts a Sexual Abuse Claim.
           22
                 YOU MAY WISH TO CONSULT AN ATTORNEY REGARDING THIS MATTER.
           23             A list of claimed abusers is attached to this notice. This list is not exhaustive. Possible
                 abusers might include clergy members, employees, deacons, teachers, coaches, volunteers, or
           24    other personnel. The fact that this list does not include the name of the person who Sexually
                 Abused you does not mean that you should not file your Sexual Abuse Claim (using the “Sexual
           25    Abuse Proof of Claim Form,” as described below).
           26             For more information, please visit: [Par mas informacion, por favor visite:] [Xav paub
                 ntau ntxiv, thov mus saib:]
           27             • www.stocktondiocese.org
                          • www.kccllc.net/stocktondiocese
           28             • www.pszjlaw.com/stocktondiocese.html (the “Committee Website”)

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            1           The Committee Website is maintained by counsel to the Official Committee of Unsecured
                 Creditors (the “Committee”) and at that site are, among other things: (i) a Sexual Abuse Proof of
            2    Claim Form; (ii) a list of names, dates, locations, and years of service of known abusers; (iii) if
                 available, pictures, of known abusers; (iv) copies of the Bar Date Order, and the Sexual Abuse
            3    Claim Bar Date Notice; (v) a list of Schools and Parishes in the area served by the Debtor from
                 1962 to 2014; and (vi) a list of Catholic-affiliated organizations located within the Debtor’s
            4    geographic boundaries (the “Catholic Entities”).
                        You also may obtain information regarding the Debtor’s bankruptcy case or copies of the
            5    items listed above from: (A) counsel to the Official Committee of Unsecured Creditors
                 (Pachulski Stang Ziehl & Jones LLP) by calling toll free (888) 570-6217; or (B) counsel to the
            6    Debtor (Paul Pascuzzi at Felderstein Fitzgerald Willoughby & Pascuzzi LLP) by calling (916)
                 329-7400 or visiting www.ffwplaw.com.
            7
                                You may wish to consult an attorney regarding this matter.
            8
                                                       FILING DEADLINE
            9
                         The United States Bankruptcy Court for the Eastern District of California (the “Court”)
           10    has entered an order (the “Bar Date Order”) establishing August 15, 2014 at 4:00 p.m.
                 (prevailing Pacific Time) (the “Sexual Abuse Claim Bar Date”) as the last date and time for each
           11    Sexual Abuse Claimant to assert a Sexual Abuse Claim. A copy of the proof of claim form that
                 has been specifically tailored for claims of Sexual Abuse Claimants (the “Sexual Abuse Proof of
           12    Claim Form”) is included with this Notice. The Sexual Abuse Claim Bar Date and the procedures
                 set forth below apply to all Sexual Abuse Claims against the Debtor based upon Sexual Abuse
           13    that occurred before January 15, 2014. A different deadline applies to parties who may assert
                 claims that are not Sexual Abuse Claims against the Debtor. Consult the Bar Date Order for all
           14    applicable deadlines to file claims against the Debtor or in this chapter 11 case.
           15                                           WHO MUST FILE
           16           If you believe that you have a Sexual Abuse Claim (which you may have even if you have
                 never previously reported your Sexual Abuse or filed a lawsuit against the Debtor), you must file
           17    a Sexual Abuse Proof of Claim Form to maintain and/or preserve any claims that you have
                 against the Debtor. Even if you have already filed a lawsuit against the Debtor alleging
           18    Sexual Abuse prior to January 15, 2014, you must still submit a Sexual Abuse Proof of
                 Claim Form to maintain and/or preserve your rights in the Debtor’s chapter 11 case.
           19
                                                   WHO SHOULD NOT FILE
           20
                        You should not file a Sexual Abuse Claim if:
           21
                            Your Sexual Abuse Claim has already been paid in full;
           22               You do not have a Sexual Abuse Claim against the Debtor; or
           23               You do not have a claim against the Debtor.

           24                                            WHAT TO FILE

           25     IN ORDER TO ASSERT A SEXUAL ABUSE CLAIM AGAINST THE DEBTOR, YOU
                 MUST COMPLETE, SIGN AND FILE A SEXUAL ABUSE PROOF OF CLAIM FORM.
           26    YOU MAY OBTAIN A COPY OF THE SEXUAL ABUSE PROOF OF CLAIM FORM BY
                                FOLLOWING THE INSTRUCTIONS BELOW.
           27

           28

                                                                         NOTICE OF SEXUAL ABUSE CLAIM FILING DEADLINE
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            1    PROCEDURES FOR FILING A SEXUAL ABUSE PROOF OF CLAIM FORM

            2    To submit a Sexual Abuse Proof of Claim Form, you must take the following steps:
                     Fill out the Sexual Abuse Proof of Claim Form.
            3
                       For additional copies of the Sexual Abuse Proof of Claim Form you may:
            4
                        (a) photocopy the Sexual Abuse Proof of Claim Form;
            5           (b) go to the website established by the Committee’s counsel at
                        www.pszjlaw.com/stocktondiocese.html;
            6
                        (c) contact the Debtor’s Claims Agent between the hours of 9:00 a.m. and 5:00
            7           p.m. (prevailing Pacific time), Monday through Friday, at (310) 751-1492, or visit
                        the Claims Agent’s website at: www.kccllc.net/stocktondiocese; or
            8           (d) go to the web page established by the Debtor at www.stocktondiocese.org.
            9          Please note that the Debtor’s counsel, the Debtor’s staff, the Claims Agent’s staff
                        and the Committee’s counsel are not permitted to give you legal advice about your
           10           claim. You should consult your own attorney for assistance regarding any
                        other inquiries, such as questions about completing or submitting a Sexual
           11           Abuse Proof of Claim Form.
           12          Return the completed Sexual Abuse Proof of Claim Form plus two copies to the
                        Court at the address set forth below no later than August 15, 2014 at 4:00 p.m.
           13           (prevailing Pacific Time). Sexual Abuse Proof of Claim Forms will be deemed
                        timely submitted only when they are actually received by the Court no later than
           14           August 15, 2014 at 4:00 p.m. (prevailing Pacific Time).
           15          Please note that Sexual Abuse Proof of Claim Forms submitted by facsimile,
                        telecopy or electronic mail transmission will not be accepted and will not be
           16           deemed filed. If you are returning a Sexual Abuse Proof of Claim Form by mail,
                        allow sufficient mailing time so that the Sexual Abuse Proof of Claim Form is
           17           received by the Court on or before August 15, 2014 at 4:00 p.m. (prevailing
                        Pacific Time). Sexual Abuse Proof of Claim Forms that are postmarked before
           18           that date (i.e., the Sexual Abuse Claim Bar Date) but which are received by the
                        Court after the Sexual Abuse Claim Bar Date will be considered late.
           19          If a Sexual Abuse Claimant returns a Sexual Abuse Proof of Claim Form in
                        person, by mail, overnight delivery, or by courier service, the Sexual Abuse Proof
           20           of Claim Form should be delivered to the following address, between the hours of
                        9:00 a.m. and 5:00 p.m. (prevailing Pacific Time), Monday through Friday:
           21
                         U.S. Bankruptcy Court
           22            Attn: Diocese of Stockton Confidential Claim
                         501 I Street, Suite 3-200
           23            Sacramento, CA 95814
           24          If you are returning a Sexual Abuse Proof of Claim Form by mail, allow sufficient
                        mailing time so that the Sexual Abuse Proof of Claim Form is received on or
           25           before August 15, 2014 at 4:00p.m. (prevailing Pacific Time). If you wish to
                        receive acknowledgement of the Court’s receipt of your proof of claim, then, by
           26           the Sexual Abuse Claim Bar Date, and at the same time that you submit your
                        original proof of claim, you also must submit to the Court both: (i) a third copy of
           27           the original proof of claim; and (ii) a self-addressed, stamped return envelope.

           28

                                                                 NOTICE OF SEXUAL ABUSE CLAIM FILING DEADLINE
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            1                CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM

            2            The deadline for filing a Sexual Abuse Proof of Claim Form is August 15, 2014 at 4:00
                 p.m. (prevailing Pacific Time). Any person who has a Sexual Abuse Claim and does not file a
            3    Sexual Abuse Proof of Claim by that date may not be treated as a creditor for voting or
                 distribution purposes under any plan of reorganization and such claims may be subject to
            4    discharge. Failure to file a Sexual Abuse Claim may prevent such person from voting on any
                 plan of reorganization in this case. Further, if such Sexual Abuse Claim is discharged, the Sexual
            5    Abuse Claimant will be forever barred and prevented from asserting his or her Sexual Abuse
                 Claim against the Debtor or its property, and may not receive any payment or distribution in
            6    connection with such Sexual Abuse Claim.

            7                                         CONFIDENTIALITY
                         Pursuant to the Bar Date Order, Sexual Abuse Proofs of Claim will remain confidential in
            8    this case, unless you elect otherwise in Part 1 of the Sexual Abuse Proof of Claim Form.
                 Therefore, the Sexual Abuse Proof of Claim Form that you file will not be available to the general
            9    public, but will be kept confidential, except that copies of Sexual Abuse Proof of Claim Forms
                 will be provided, pursuant to Court-approved guidelines, to the Debtor, the Debtor’s counsel, the
           10    Committee’s counsel, and upon request, to the United States Trustee, the following parties and
                 any additional parties the Committee approves, but only after each of such parties agrees to keep
           11    the information provided in the Sexual Abuse Proof of Claim Forms confidential:
           12                  (a)     Insurance companies that provided insurance that may cover the claims
                                       described in the Sexual Abuse Proof of Claim Forms.
           13
                               (b)     Any future claims representative appointed by the Court (or under a plan of
           14                          reorganization).
                               (c)     Any judicial mediator, or special arbitrator/claims reviewer appointed to
           15                          review and resolve the claims of Sexual Abuse Claimants.
           16                  (d)     Any settlement trustee appointed to administer payments to Sexual Abuse
                                       Claimants.
           17                  (e)     Members of the Committee and their personal counsel (after the Sexual
                                       Abuse Proof of Claim Form has been redacted to hide the Sexual Abuse
           18                          Claimant’s name, address and any other information identified in Part 2(A)
                                       of the Sexual Abuse Proof of Claim Form).
           19
                               (f)     Such other persons as the Court determines should have the information in
           20                          order to evaluate Sexual Abuse Claims.
                 Dated: May 9, 2014
           21
                                                             FELDERSTEIN FITZGERALD
           22                                                WILLOUGHBY & PASCUZZI LLP

           23                                             By:/s/ Paul J. Pascuzzi_______________
                                                             STEVEN H. FELDERSTEIN
           24                                                PAUL J. PASCUZZI
                                                             JENNIFER E. NIEMANN
           25                                                400 Capitol Mall, Suite 1750
                                                             Sacramento, CA 95814
           26                                                Telephone: (916) 329-7400
                                                             Facsimile: (916) 329-7435
           27                                                Attorneys for The Roman Catholic
                                                             Bishop of Stockton, a corporation sole
           28

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            1    Fr. Antonio Camacho
                     Assignments:
            2
                     Associate Pastor, St. Anthony’s Parish, Hughson: 12/1/81 – 1/11/82
            3        Associate Pastor, St. Stanislaus Parish, Modesto: 1/11/82 – 2/17/84

            4
                 Br. Didachus Clavell, O.F.M.
            5        Assignments:
            6        St. Mary’s High School approx. 1964

            7
                 Fr. Murty Fahy, O.S.F.S.
            8        Assignments:
            9        Teacher at St. Mary’s High School, Stockton: 1970 – 1985
                     Associate Pastor, St. Anne’s Church, Lodi: 8/1/85 – 3/2/01
           10        Deceased: 3/2/01
           11
                 Fr. Michael Kelly
           12
                     Assignments:
           13        Associate Pastor, Our Lady of Fatima Parish, Modesto: 9/1/73 – 9/23/79
                     Associate Pastor, St. Bernard’s Parish Tracy: 9/24/79 – 6/14/84
           14        Associate Pastor, Cathedral of the Annunciation, Stockton: 6/15/84 – 6/30/87
                     Pastor of St. Patrick’s Parish, Sonora: 7/1/87 – 3/4/97
           15        Administrator of Presentation Parish, Stockton; 3/5/97 – 6/12/97
                     Pastor of Presentation Parish, Stockton: 6/12/97 – 1/30/00
           16        On Leave: 1/30/00 – 9/3/00
                     Administrator pro-tem of St. Andrew’s Parish, San Andreas: 9/3/00 – 3/30/01
           17        Pastor of St. Andrew’s Parish, San Andreas: 3/30/01 – 8/1/02
                     Pastor of St. Joachim Parish, Lockeford: 8/1/02 – 10/11/07
           18

           19    Fr. Titian Miani
           20       Assignments:
                    Administrator of Holy Cross Parish, Linden: 8/15/72 – 1/26/81
           21       Educational Leave: 1/26/81 – 7/14/81
                    Associate Pastor, St. Patrick’s Parish, Angels Camp: 7/15/81 – 12/21/82
           22       Administrator of St. Patrick’s Parish, Angels Camp: 12/21/82 – 12/31/82
                    Pastor of St. Patrick’s Parish, Angels Camp: 1/1/83 – 5/1/85
           23       Leave of Absence due to ill health: 5/1/85 – 12/31/85
                    Associate Pastor, St. Luke’s, Stockton: 1/1/86 – 12/31/92
           24
                    Retired: 1/1/93
           25
                 Fr. Antonio Munoz Rodriguez
           26        Assignments:
           27        Associate Pastor, St. George’s Parish, Stockton: 12/12/77 – 5/19/79
                     Associate Pastor, St. Anthony’s Parish, Hughson: 5/19/ 79 – 9/18/81
           28

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            1    Monsignor Edward Noonan
                   Assignments:
            2
                   Pastor of St. Joachim Parish, Newman: 6/23/39 – 1/13/43
            3      Pastor of St. Gertrude Parish, Stockton: 1/13/43 – 10/12/66
                   Pastor Emeritus in residence at St. Gertrude Church: 1966 – 1969
            4      Deceased: 1/20/70
            5
                 Fr. Oliver O’Grady
            6
                     Assignments:
            7        Associate Pastor, St. Anne’s Parish, Lodi: 9/1/71 – 5/31/77
                     Associate Pastor, Sacred Heart Parish, Turlock: 6/1/77 – 6/20/82
            8        Associate Pastor, Presentation Parish, Stockton: 6/21/82 – 12/16/84
                     Administrator of St. Andrew’s Parish, San Andreas; 12/17/84 – 4/18/85
            9        Pastor of St. Andrews Parish, San Andreas: 4/18/85 – 1992
                     Pastor of St. Anthony’s Parish, Hughson: 1992 – 6/23/93
           10

           11    Fr. Oskar Pelaez
           12        Assignments:
                     Associate Pastor, St. Anthony’s Parish, Hughson: 4/8/94 – 8/1/95
           13        Associate Pastor, Sacred Heart Parish, Turlock: 8/1/95 – 9/1/98
                     Associate Pastor, Our Lady of Fatima Parish, Modesto: 9/1/98 – 1/14/00
           14        One year leave of absence: 1/14/00 – 1/27/01
                     Associate Pastor, Cathedral of the Annunciation Parish: 1/27/01 – 11/30/01
           15

           16    Fr. Leo Suarez
           17        Assignments:
                     Associate Pastor, St. Anthony’s Church, Hughson: 10/7/88 – 2/1/91
           18        Associate Pastor, St. Stanislaus Parish, Modesto: 2/1/91 – 12/1/92
                     Associate pastor, St. George’s Parish, Stockton: 12/1/92 – 1/31/97
           19        Administrator of St. Edward’s Parish, Stockton: 2/1/97 – 8/1/08
                     Associate Pastor, Sacred Heart Church, Turlock: 8/1/08 – 2/21/09
           20        Associate Pastor, Our Lady of Fatima Church, Modesto: 2/21/09 – 7/22/09
           21
                 Fr. Fernando Villalobos, O.F.M.
           22
                     Assignments:
           23        Administrator of St. Mary’s Church, Stockton: Oct. 1979 – August 31, 1980
                     Episcopal Vicar for Hispanics in Diocese of Stockton: 9/1/80 – 12/31/85
           24
                     Deceased: 12/31/85
           25

           26

           27

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